         Case 1:22-cr-00003-DCN Document 58 Filed 07/08/22 Page 1 of 2




                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


  UNITED STATES OF AMERICA,
                                                  Case No. 1:22-cr-00003-DCN
                       Plaintiff,
                                                 ORDER ADOPTING REPORT AND
         v.                                      RECOMMENDATION

  ALANNA ASKEW,

                       Defendant.


       Before the Court is a Report and Recommendation filed by the United States

Magistrate Judge. Dkt. 53. On June 22, 2022, Defendant, Alanna Askew appeared before

the Magistrate Judge to enter a change of plea pursuant to a written plea agreement. The

Magistrate Judge conducted the plea hearing and concluded there is a factual basis for

Defendant’s plea of guilty to the charges contained in Count One of the Superseding

Information (Dkt. 49), and that it was entered voluntarily and with full knowledge of the

consequences. No objections to the Report and Recommendation have been filed.

       The Court now has reviewed the record, and find that the requirements of Rule 11

have been met.     See United States v. Reyna-Tapia, 328 F.3d 1114 (9th Cir. 2003).

Specifically, the Court finds that the Magistrate Judge adhered to the requirements of Rule

11(b); that under Rule 11(b)(2), the Defendant’s plea was voluntary and not the result of

force or threats or promises apart from the plea agreement; and that a factual basis for the



ORDER ADOPTING REPORT AND RECOMMENDATION - 1
         Case 1:22-cr-00003-DCN Document 58 Filed 07/08/22 Page 2 of 2




plea exists. See id. Accordingly,

       IT IS HEREBY ORDERED that the Report and Recommendation (Dkt. 53) shall

be, and the same is hereby, ADOPTED as the decision of the District Court and

incorporated fully herein by reference.

       IT IS FURTHER ORDERED that the Defendant’s plea of guilty to the crimes

charged in Count One of the Superseding Information (Dkt. 49), shall be, and the same is

hereby, ACCEPTED by the Court as a knowing and voluntary plea supported by an

independent basis in fact containing each of the essential elements of the offense.

       IT IS FURTHER ORDERED that the Defendant, Alanna Askew is found to be

GUILTY as to the applicable crimes charged in the Superseding Information. Dkt. 49.

                                                 DATED: July 8, 2022


                                                 _________________________
                                                 David C. Nye
                                                 Chief U.S. District Court Judge




ORDER ADOPTING REPORT AND RECOMMENDATION - 2
